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The Honorable Christopher R. Cooper

United States District Judge

United States District Court for the District of Columbia
333 Constitution Avenue N.W.

Washington, D. C. 20001

July 12, 2022

RE: Mr. Thomas Robertson

Dear Judge Cooper,

My name is Julianna Elizabeth Boyles. | have a Bachelor of Arts in Anthropology-Forensic from California
University of Pennsylvania. | was a Medicolegal Death Investigator with the State of Virginia from 2014
to 2020 and a Transportation Officer with the United States Army Reserves from 2008 to 2020. | am
currently a Regional Auditor with Conduent Credit Balance Solutions, LLC.

Mr. Thomas Robertson is a dear friend that | have known for approximately seven years. | am aware of
the charges for which Mr. Robertson has been convicted; Obstruction of an Official Proceeding,
Obstructing Officers During a Civil Disorder, Entering and/or Remaining in a Restricted Building or
Grounds, Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Dangerous
Weapon, Disorderly Conduct in a Restricted Building.

| met Mr, Robertson through his wife, Samantha Moran Robertson. Mrs. Robertson was a Medicolegal
Death Investigator with me at the Office of the Chief Medical Examiner. Mr. and Mrs. Robertson quickly
became my husband and I's close friends after we moved to Virginia, away from all our family. They
have always been there for us. Mr. Robertson’s treatment and love for Mrs. Robertson has been
wonderful to watch and we were happy to be a part of their wedding.

Mr. Robertson is one of the most thoughtful people | know. He is always willing to help anyone and give
anything he can. If my husband and | ever needed help moving, our car broke down, or we had any type
of emergency Mr. Robertson is one of the first people we would call and know that he would be on his
way in a heartbeat. Mr. Robertson never expects anything in return. He loves the company of his
friends, sharing his experiences, and teaching any knowledge he can pass on.

He gave us plants from his garden and meat from his deer. He loved to pass on any knowledge about
gardening, survival techniques, safety and his military/law enforcement training. When my husband and
| decided to move back to Virginia from Florida, Mr. and Mrs. Robertson quickly booked plane tickets to
help us move all our items and make the 12-hour journey back. He also planned to help us plant a
garden at our new home.

Mr. Robertson has an infectious positive energy. He never seems to get angry or upset. He is always
extremely patient and calming. He and his wife have rescued multiple animals and given them a caring
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and loving home. He has expressed to me a want to train future K9 dogs. He and Mrs. Robertson also
went through the process of being approved as a foster home to local children and looked forward to
providing a home to children in need.

| have always known Mr. Robertson to be a selfless person who put service to his country before
himself. He always spoke highly of and took great pride in his military and law enforcement career. On
multiple instances, he was volunteering his time to conduct trainings for local law enforcement groups.
He supported different opinions and views, never trying to coerce anyone into his own.

He displayed the Constitution and memorabilia of his military service throughout his home. We and the
community were lucky to have him in our lives. | have no doubt that Mr. Robertson will still be a
productive member of the society once he is released.

The offenses that Mr. Robertson was charged with are completely out of character for him. | have never
seen an ounce of violent nature in Mr. Robertson, let alone him even raise his voice or lose his patience.
Even speaking with Mr. Robertson now, he remains positive and understands the outcome of his
actions. He has remorse in the consequences for his family as well as his country and is ready to come
home. He has expressed to me his want to be there for his family, his lessons learned, and the
unfortunate mistakes that were made.

It is my hope that you take note of my letter into consideration. Mr. Robertson is a beloved friend and a
valuable citizen of this country. We miss him dearly and so look forward to his return home so that he
can once again be apart of my husband’s, my two-year-old daughter's, and my life; as well as meet my
son that is due next month. We are lucky to have him.

Sincerely,

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Julianna E. Boyles

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